    Case 6:16-cv-00039 Document 23 Filed in TXSD on 09/27/17 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          VICTORIA DIVISION



                                          §
                                          §
versus                                    §            Case Number: 6:16−cv−00039
                                          §
                                          §

                            Notice of Reassignment

       Pursuant to General Order No. 2017−18, this case is reassigned to the docket of
United States District Judge Hayden Head. Deadlines in scheduling orders remain in
effect, and all court settings are vacated


Date: September 27, 2017
                                                              David J. Bradley, Clerk
